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 Health Services
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              April 4, 2017                                                                             EXH
                                                                                               WITNESS:
                                                                                               DATE:
                                                                                                 RENETT R OMPSON
             Timothy Ryan, M.D.                                                                        CS
             417 W. 39th Street
             San Pedro, CA 90731

            Dear Dr, Ryan.:

                                                      NOTICE OF INTENT TO SUSPEND

            This letter is to notify you of the Department of Health Services (OHS) intent to suspend you for
            twenty-five (25) calendar days from your permanent position of Physician Specialist,
            Department of Surgery, Harbor-UCLA Medical Center, and from County service.

            BASIS

           This proposed action is based on the DHS Discipline Manual and Guidelines (DM&G), the Code
           of Conduct, County of Los Angeles, Department of Human Resources Policies, Procedures, and
           Guidelines, Harbor-UCLA policies and procedures, and related subsections as follows :

           DM&G Section 400 (Exhibit A)

                    •      Subsection B. Basic Job Performance_ Item No. B5- Performing other than
                           assigned duties and/or working outside scope of duties (or granted privileges) without
                           authorization (Exhibit A at p. 13.)

                   •      Subsection 0        Disruptive Behavior: Harassment, Discrimination, and
                          Discourtesy. Item No 09. Discourtesy, or failing to work in a harmonious or
                          professional manner (including making false, abusive, vicious, or malicious
                          statements) while on County time, or on/in County property, or assignment (Exhibit A
                          at p 18)

                          Subsection E Ethical Conflicts. Item No El5 Using official position, office, County
                          ID , or DHS Internet logos i iJ. for unauthorized access or use. (Exhibit A at p. 21 . )




              To            dc(        tidy!, quality. pdtient-cetiteted cost-effective health care to Los Angeles County residents
               Through (brut t    Strvices   at OHS facilities and through collaboration with community and university partners
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       •    Subsection F_ False Statements, Dishonesty. item No. F4: Making untruthful,
            misleading or unreasonably inaccurate statements during an administrative or internal
            investigation_ (Exhibit A at p_ 22,)

       •    Subsection G. General Misconduct and Inappropriate Behavior. item No. Gil:
            Failure to comply with County or Departmental policies, procedures, rules, and
            regulations, Penal and/or Safety codes. (Exhibit A at p. 25.)

       •   Subsection K. Knowledqe/information Acquisition, Maintenance t_and Transfer.
           Item No. 1.<7! Improper access, use, or disclosure of confidential and/or protected
           patient information (including but not limited to medical records). (Exhibit A at p. 31.)

  You acknowledged receipt of the DM&G on October 4, 2013. (Exhibit B.)

 DHS Policies and Procedures.

      •    OHS Policy No. 361.8: Minimum Necessary Requirements for Use and Disclosure
           of PHI. This policy states, "Minimum necessary is based on a need to know, and is
           the limited health information required to accomplish the intended purpose of the use
           or disclosure or request. Each DHS facility shall make reasonable efforts to limit the
           use, disclosure of, and requests for PHI to the minimum necessary to accomplish the
           intended purpose of the use, disclosure, or request." (Exhibit C.)

      •    DHS Policy No, 361.10: Disciplinary Actions for Failure to Comply with Privacy
           Policies and Procedures. Unauthorized acquisition, viewing, access, use, and/or
           disclosure of protected health information, or the failure to maintain and safeguard PHI
           is subject to disciplinary action, including, but not limited to, verbal counseling, written
           warning, reprimand, suspension, and discharge, in accordance with the provisions of
           Los Angeles County Civil Service rules, OHS Discipline Manual and Guidelines, and
           DHS Policy No. 747, 'Disciplinary Action.' (Exhibit D.)

 Code of Conduct (Exhibit E)

      Confidentiality

           Patient Information

     We collect and maintain patient medical, financial/billing, social and family information to
     provide the best possible care. We realize the sensitive nature of this information and are
     committed to maintain its confidentiality.

     The Department has developed policies to protect the privacy and security of protected
     health information, in compliance with the Health Insurance Portability and Accountability
     Act of 1996 (I IIPAA) Privacy and Security Rules. You must never use or disclose
     protected health information unless required/permitted by law. No workforce member
     has a right to any patient information other than what is necessary to perform
     his/her job (Eniphas added)
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    This proposed discipline is consistent with the County of Los Angeles Civil Service Rule 18.031,
    (Exhibit F), which states:

        Failure of an employee to perform his or her assigned duties so as to meet fully explicitly
        stated or implied standards of performance may constitute adequate grounds for
        discharge, reduction or suspension. Where appropriate, such grounds may include, but
        are not limited to, qualitative as well as quantitative elements of performance, such as
        failure to exercise sound judgment, failure to report information accurately and completely,
        failure to deal effectively with the public, and failure to make productive use of human,
        financial and other assigned resources Grounds for discharge, reduction or suspension
        may also include any behavior or pattern of behavior which negatively affects an
        employee's productivity. or which is unbecoming of a county employee; or any behavior or
        condition which impairs an employee's qualifications for his or her position or for continued
        county employment

This proposed level of discipline is also consistent with DHS DM&G, Disciplinary Action,
§200 Progressive and Non-Progressive Discipline, which states, in pertinent part:

        Circumstances in some situations may require bypassing progressive discipline.

        Conduct which may be appropriate for bypassing progressive discipline includes, but
        is not limited to, conduct which an employee should know to be unacceptable without
        specific notice from the Department. This includes behavior such as dishonesty,
        illegal conduct, or any conduct which places the Department in violation of any state
        or federal law, court order, or in jeopardy of liability.

The seriousness of the conduct, the frequency of its occurrence, and the attitude of the
employee regarding the conduct are among factors that may contribute to non-progressive
discipline. Such acts may result in discharge without consideration of prior service or imposition
of previous discipline. (Exhibit F1.)

FACTS

The facts supporting this proposed action are as follows:

Discourtesy: Ana Veneqas

1      In early 2016, Ana Venegas, Registered Nurse II, received a call from Operating Room
       (OR) 1 asking to get the next patient ready for surgery. (Exhibit G at pi .) Ms. Venegas
       could not leave her desk to get the next patient because the clerk and the other nurses
       were either at lunch or with other patients. (Id.)

2      Less than five (5) minutes after the initial phone call, she called OR 1 to follow up with how
       close the staff were to finishing with the current patient in the room. (Exhibit G at p.1.) You
       answered the phone and when Ms. Venegas asked for the nurse who had called for the
       next patient, you screamed that you had called for the next patient. Ms. Venegas then
       ask,r_Ai how much time there was before the current patient was finished as the time can
       very. (Id. at p.2.) You then hung up the phone and walked to the nursing station where Ms.
       Venegas was seated. Id.
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    3     You stood over the nursing station counter. pointed your finger in Ms. Venegas' face and
          stated, "I am the doctor and you are the nurse. You do what I tell you to do. Since when do
          nurses not follow orders?" (Exhibit G at p. 2-3.) Ms. Venegas approximated her height as
          4'11" and your height as 6'2." (Id. at p. 2.) Ms. Venegas described your face as red and
          that you were spitting as you screamed at her. (Id. at p.3.)

    a.    Ms. Venegas explained that the patient would be ready soon because a nurse had come
          back from her break and Ms. Venegas had directed her to get the next patient ready.
          (Exhibit G at pp. 2-3.) You responded, "You have no idea how much money you are
          wasting by having the OR empty. It is a lot of money." (Id.) Ms. Venegas felt, "extremely
          uncomfortable" and stopped replying to you.

Discourtesy: Mabel Rodriquez

5         On March 4, 2016, at approximately 8:00 a.m.. when Mabel Rodriguez, Relief Nurse, saw
          you in the preparation area, she commented, "wow, what are you doing here so early'?"
          (Exhibit H at p.1.) You became upset and started to raise your voice at Ms. Rodriguez.
          Ms. Rodriguez then tried to change the subject and asked which side you wanted the C-
          arm machine You sarcastically responded, "You should know by now, how long have you
          been working here?" Ms. Rodriguez was embarrassed by your comment and asked you
          to not talk to her in, "that way." You continued to argue with her so she asked you again to
          not speak to her, "that way." You began raising your voice and stated that if she or any
          other nurse has a problem with your tardiness, to see you directly. (Id.)

b.       Ms. Rodriguez became upset and walked away to set up the machine. Ms. Rodriguez set
         up the machine on the wrong side and walked to the control room because she was
         frustrated. (Exhibit H at p.2.) When Ms. Rodriguez stated that she was upset because she
         could not think straight and put the machine on the wrong side, you immediately started to
         yell at her about her comment regarding your tardiness. Ms. Rodriguez asked you to stop
         yelling at her and speak privately with her if you wanted to discuss the comment. Ms.
         Rodriguez stated that her request, "triggered" you and you began yelling loudly, "you are
         going to listen to me now!" (id. and Exhibit I.) You then stood approximately one inch
         away from her face and pointed your finger at her, leaving no personal space. (Id. at pp.2-
         3.) Ms. Rodriguez again asked you to stop yelling at her but you would not stop. (Exhibits
         H at p.3 and I.)

7        Carla Mitchell, Registered Nurse II, was in the control room and believed that you were
         going to strike Ms. Rodriguez when she saw you move, "into [Ms. Rodriguez's] face and
         space" with your finger in her face. Ms. Mitchell asked you, 'what is wrong with you'?"
         (Exhibits H and I.) You answered that if Ms. Rodriguez was so concerned with your
         attendance she should contact an agency. (Exhibit I.)

8        You later apologized to Ms Rodriguez and when she stated that you were clearly upset
         about "something else, ' you told her that you had been notified about your tardiness the
         day before (Exhibit H at p



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 Inappropriate Access of PHI

           In early 2015, you gave Amanda Flores, Intermediate Clerk, a list of operative procedures
           with their corresponding CPT (current procedural technique) codes (Exhibits J and K) and
           asked her to provide you a report of all patients who underwent the listed operative
           procedures from July 2012 to early 2015 (Exhibit J.)

 10 The report that was given to you contained patient names, description of the operative
     procedure performed on the patients. age and sex of patients, the diagnosis, and the
     name of the surgeon assigned to the case, (Exhibits J and L.) Specifically, the report
     contained patient information for cases that you were nol assigned to and for a time
     period? Ihat you were not employed at I larhor-UCI. A (Exhibits J and L.)

 Misleading and False Statements During an Investigation

 11        On January 26, 2017, you and your representative, Mark Quigley, met with Cathy Yoo and
           Nan Gevorki, Performance Management Investigators. for an administrative interview.
           Prior to the start of the administrative interview. you read and reviewed the administrative
           rights subject form ("Admen Rights"). (Exhibit M.) The Admin Rights Subject Form states
           that you are required to "answer the interview questions truthfully to the best of your
           knowledge and belief..." (Id.)

12. During the interview, you admitted that you used CPT codes to request a search from
    Ms. Flores. However, you stated that you used CPT codes because doing a case search
    using your name would not capture all your cases as some of your patients were listed
    under Dr. White's name. (Exhibit M1 at p. 10 and N at p. 4.) You then denied that you
    requested or received any case information about other doctors from your search
    request to Ms. Flores. You further stated that you knew that using CPT codes would
    exclude Dr. White and Dr. Carlos Donayre because they did not perform the specific
    procedure codes that you used for your search. (Id.)

13. The report that you received from your requested search clearly includes case information
    from multiple doctors and for patients prior to your employment with the County.
    (Exhibit L,)

ADMINISTRATIVE INTERVIEW

14. During the administrative interview on January 26, 2017, you also stated the following in
    addition to the above°

Pesoonse to Allegations of Discourtesy: Ana Venegas

       •      In early 2016, after you had asked for the next patient to be prepped for surgery, you
              received a call from Ms. Venegas stating that they had not called for the next patient in
              order to prevent the patient from having to wait in the pre-op area. (Exhibit M1 at p.7
              and Exhibit N at p.3.) At this time, there was a 'push" for room turnover and you felt
              Ms Venegas did not want to do any work. You then hung up the phone and went to


  •I       " ' C.:rift,1:411   IA IS (klulier of 2013 114e query was for cases starting in July 2012 prior to yoer employment
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           the nursing station to speak to Ms Venegas You stated that you were probably
           agitated but deny yelling at Ms. Venegas of deny stating -1 am the doctor you are
           the nurse, you arc not to question me you are to do what I say N'ou also deny
           standing over her (Id?

  Resjionsci se Allegations of Discourtesy_ Maher Rodriquez

           On April 4 2076 you were offended by Ms Rodriguez s comment about your work
           hours he-cause, you often work more than forty (401 hours a week (Exhibits Mi at p. 5
           and N sit p 2 ) When you told her to calf the Auditor controller if she was concerned
           about your flows. Ms Rodriguez threw hia hand in your face and said that she did not
           have to listen to you tlif ) You then followed her le the control room to tell her not to
           throw het hand in your fact ' (Exhibits Ail p 6 And Exhibit 0 at p. 3 ) She repeated
           that she did not have to listen to you You slated that you may have been pointing at
           her nut you do not remember ever putting your finger in her faro. You also deny
           standing in her personal space. Both 01 you were %peaking loudly but not yelling. After
           this incident you apologized to her and she said we re good" or words to that effect.
           Since this incident. you have worked with Ms. Rodriquez without any issues (Id.)

       You were given the opportunity to provide an affidavit To date, you have not provided an
       affidavit

 IMPACT

 Dr Ryan you violated departmental policies by your unauthorized request and review of
 patients PHI that were not under your care. In fact, your request included a time period in which
 you were not yet employed at Harbor-UCLA. You used your County position for unauthorized
 access. You did not have to request the broad search of surgical procedures or review the case
 information from other doctors to fulfill your job responsibilities as a Physician Specialist. When
 asked about this incident during the Department's administrative interview. you were dishonest
 and completely denied receiving patient information from other doctor's cases. Your statement
    ofatantly contradicted by the report that you were provided from Ms. Flores, which lists
 multiple patients from various doctors other than yourself. By accessing multiple patient's
 records without necessity and proper authorization and then lying about it during an internal
 nivestioation, you demonstrated a serious lapse in judgment and caused OHS to question your
 professionalism and integrity.

  Also your response to your coworkers with outbursts of anger, yelling, and invasion of personal
  space is completely inappropriate and will not be tolerated. Your actions directly affect the work
  environment and has caused staff to feel uncomfortable If you feel that staff is behaving
  inappropriately or not following established procedures, you can address any issue with
 management or have a discussion directly with the people involved rather than confronting them
 in an unprofessional manner or speaking about the allegations to staff not involved in the
 matte, As a County workforce member and a Physician, you are required to act with a high
 ice of prulessiunalism tuwilid all staff_ Your behavior towards your co-workers is highly
 iMensive and violates County policies. You are reminded that you are expected to conduct
 y•        Hi is ,..:eurteous, euopetative, and professional manner, and treat co-workers, patients,
      ',U111:Iirif`, wilt! respect at all limes
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     WORK HISTORY AND PERTINENT BACKGROUND

     In (tootling to take this proposed action against you. management reviewed and gave
     consideration to your entire work record

     16 You entered County sorvire on October           201:1 as a Physician Specialist. Your duties
         and 0!sponsibtlitie!tt at Harbor liCI A may inch Jdi !. 1iiii are not limited to the following:

           •   'Perform medical work in a soi•cialwed modir,i-il field. inc_tuding specialized surgical
               procedures within a specialty field
           •   Prescribe drugs and/or therapy monitor patient.' prrx)rest, record observations and
               changes, and adjust treatments as requirod
           •   Conduct training or assist in the training of interns and resident physicians.
           •   Consult with staft physicians and part-medical personnel regarding care of patients
               and medical and diagnostic work performed
           •   Provide consultation to other medical services. including specialists in other fields.
           •   Conduct the more difficult post modem examination and may provide training and lead
               man supervision over other physicians engaged in these activities.
           •   Confer with medical and professional personnel in such related fields as toxicology in
               order to discover the main and contributing causes of death (Exhibit 0.)

    17     Your performance for the most recent Performance Evaluations (PE) was rated as follows,
           October 14. 2013 to April 4, 2014, 'Met Expectations." (Exhibit P.)

    18. A review of your record reveals that there is no prior formal discipline against you.

    CONCLUSION

    Dr. Ryan, your unauthorized access to a list of surgical procedures that included procedures
    conducted by other surgeons with protected patient information was unnecessary and not
    related to a legitimate business reason. In addition to reflecting poor judgment, this
    unauthorized access was a violation of departmental guidelines and policies meant to safeguard
    the private medical information of patients who place their trust in the County. You then
    continued to show a disregard for Department policy by provide false information to the
    Department during an administrative investigation and completely denying receiving information
    contained in the report that you requested. Your conduct caused concern to the Department due
    to actions and your tack of accountability.

    Also, your angry behavior and th►eatening body language not only violates the Department's
    written policy and procedures but also creates a disruptive environment and is not conducive in
    creating a healthy, professional workplace .

   Due to your unauthorized access of PHI and your discourteous behavior, the Department
   intends to suspend you for twenty-five (25) calendar days from your permanent position of


    Iii.'. le iter 111.1y be amended to include additional charges, facts, and/or specific information .

   EMPLOYEE ASSISTANCE PROGRAM
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        The County of Los Angeles has an Employee Assistance Program EAP that provides
        counseling services addressing both personal and job-related issues. If you wish to make an
        appointment, you may call (213) 738-4200. The first appointment is on County time as long as
        you inform your supervisor, in advance, of the scheduled date. Should there be subsequent
        EAP appointments, you will be required to use your own time. You must, again, give advance
        notice of any scheduled appointment and request time-off as you would any other time-off if
        your appointment(s) am during your working hours.

    EMPLOYEE RIGHTS

    All written materials and related documentation upon which this action is based have been
    attached for your review You and/or your representative have the right to respond either orally,
    in writing or both to the charges contained in this letter_ if you choose to respond in writing, you
    have ten (10) business days from the date this. letter was mailed or personally served to you
    to provide your response to Maria Lorena Andrade-Guzman, Chief, Performance Management,
    DHS, Human Resources, 5555 Ferguson Drive, Room 22010. Commerce, CA 90022.

    If you wish to respond in person or in writing, please contact Cathy Yoo, Performance
    Management Investigator, at (323) 869-7023. You must contact Ms. Yoo within ten (10)
    business days from the date this letter was mailed or personally served to you


    If you do not contact Ms. Yoo in person or in writing within ten (10) business days from the date
    this letter was mailed or personally served to you, you will have waived your right to respond at
    this level

    Respe ully,



    Anish Mahajan, MID Chief Medical Officer
    Harbor-UCLA Medical Center

   AM MLAG sc
   NC CY is

   Enclosures

   c        Karyl Smith, On-site HR Administrator, Harbor-UCLA

   Exhibits. A — P

   A.      DM&G Sections
   B.      Acknowledgement of DM&G
   C       DHS Policy No. 361.8
   13      OHS Policy No 361 10
   E       DHS Code of Conduct
   F       Civil Service Rule 18 031
   Fl      DM&G Section 200
